

Mensah v Mitsubishi (2023 NY Slip Op 51207(U))



[*1]


Mensah v Mitsubishi


2023 NY Slip Op 51207(U)


Decided on November 17, 2023


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on November 17, 2023
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Hagler, P.J., Tisch, J.



571002/23Michael Mensah, Plaintiff-Respondent,
againstVictory Mitsubishi, Defendant-Appellant.




Defendant appeals from an order of the Civil Court of the City of New York, Bronx County (Jeanine R. Johnson, J.), dated January 13, 2023, which denied its motion to vacate a default judgment.




Per curiam.
Order (Jeanine R. Johnson, J.), dated January 13, 2023, affirmed, with $10 costs.
Civil Court providently exercised its discretion in denying defendant's motion to vacate the default judgment. Defendant failed to demonstrate a reasonable excuse for its failure to appear by counsel at scheduled court dates, despite being given ample opportunity to do so. "A corporate defendant's failure to comply with CPLR 321 provides no basis for vacating a judgment entered against that defendant..." (Jimenez v Brenillee Corp., 48 AD3d 351 [2008]; see e.g. 135 Bowery LLC v 10717 LLC, 145 AD3d 1225 [2016]; Pisciotta v Lifestyle Designs, Inc., 62 AD3d 850, 853 [2009]). Defendant's claims of lack of notice of the court dates and inquest, largely raised on reply and on appeal, to the extent preserved and properly before the court (see Sherman v Zampella, 214 AD3d 545, 546 [2023]; Matter of 322 W. 47th St. HDFC v Loo, 153 AD3d 1143 [2017], lv dismissed 30 NY3d 1084 [2018]; Diarrassouba v Consolidated Edison Co. of NY Inc., 123 AD3d 525 [2014]), are unpersuasive and lacking in substantial merit (see also CPLR 3215[g]). We note also that defendant's reply papers contradicted their moving papers on issues such as service of process, knowledge of the action, and representation by counsel.
We have considered defendant's remaining arguments and find them unavailing.
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concurDecision Date: November 17, 2023









